         Case 3:17-cv-02888-S DocumentSTATES
                       IN THE UNITED   25 Filed DISTRICT
                                                10/31/18 Page 1 of 2 PageID 137
                                                          COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS


                              Alternative Dispute Resolution Summary

      Provider must file completed form, in duplicate, with the U.S. District Clerk upon
      completion of ADR.

1.    Civil Action number: 3:17-CV-2888

2.    Style of case:          Jordan Akers v. Kia Motors America, Inc, Kia Motors Corp, Jared Solieiu

3.    Nature of suit:         Personal Injury (Settled) and Products Liability (did not Mediate)
4.    Method of ADR used:      ✔ Mediation          Mini-Trial        Summary Jury Trial
5.    Date ADR session was held: October 17, 2018
6.    Outcome of ADR (Select one):
          Parties did not use my services.      ✔ Settled, in part, as a result of ADR.
          Settled as a result of ADR.              Parties were unable to reach settlement.
          Continuing to work with parties to reach settlement (Note: provider must file supplemental
          ADR Summary Form at conclusion of his/her services).
7.    What was your TOTAL fee: $1300.00

8.    Duration of ADR:      4 hours                                            (i.e., one day, two hours)
9.    Please list persons in attendance (including party association, i.e., defendant, plaintiff):

      Jordan Akers-Plaintiff;
      Andy Counts-Plaintiff's Attorney;
      Allen Moore- Defendant Solieiu's Attorney;
      Ben - Hartford Claims Representative;




      Please provide the names, addresses, and telephone number of counsel on the reverse of this form.


10.   Provider information:


       W. Coleman Sylvan                                                                   10/31/2018
       Signature                                                                           Date

       3026 Mockingbird Lane, #163, Dallas TX 75205                                        214-292-4210
       Address                                                                             Telephone
   Case 3:17-cv-02888-S  Document
                   Alternative     25 Filed
                               Dispute      10/31/18
                                       Resolution    Page 2 of 2 PageID 138
                                                   Summary
                                   Continued

Please provide the names, addresses, and telephone numbers of counsel:
Name: Andy Counts                               Name: Alan Moore

Firm: The Tracy Firm                            Firm: Martin Disiere Jefferson & Wisdom

Address: 4701 Bengal Street                     Address: 9111 Cypress Waters Blvd., Ste 250

           Dallas TX 75235                                 Dallas TX 75019

Phone: 214-324-9000                             Phone: 214-420-5500



Name:                                           Name:

Firm:                                           Firm:

Address:                                        Address:



Phone:                                          Phone:



Name:                                           Name:

Firm:                                           Firm:

Address:                                        Address:



Phone:                                          Phone:



Name:                                           Name:

Firm:                                           Firm:

Address:                                        Address:



Phone:                                          Phone:
